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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

THE HONORABLE WILLIAM ALSUP

CASE NO. C20-4679-WHA

CASE NAME: Loggervale, et al v. County of Alameda, et al

 

NOTE FROM THE JURY
Note No. ff
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1. The Jury has reached a unanimous verdict(__)
Or

2. The Jury has the following question:

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Foreperson of the Jury

  

 
